70 F.3d 121
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Walter Lee RICHARDSON, Defendant-Appellant.
    No. 95-50078.
    United States Court of Appeals, Ninth Circuit.
    Submitted Oct. 24, 1995.*Decided Nov. 3, 1995.
    
      Before:  BEEZER, THOMPSON and T.G. NELSON, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Walter Lee Richardson appeals his sentence under the Sentencing Guidelines imposed following his guilty plea to theft of government property, in violation of 18 U.S.C. Sec. 641.  He contends that the district court erred in denying his request for a downward departure pursuant to U.S.S.G. Sec. 5K2.0.  "The record fails to suggest that the district court was under the impression that it could not depart downward if it chose to do so."  United States v. Heim, 15 F.3d 830, 833 (9th Cir.), cert. denied, 115 S.Ct. 55 (1994).  We lack jurisdiction to review the district court's discretionary refusal to depart downward.  See id.
    
    
      3
      DISMISSED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    